     Case 3:18-cv-01189-GPC-LL Document 79 Filed 07/17/20 PageID.1379 Page 1 of 1



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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11    ELIZABETH CUEVAS, individually and                  Case No.: 18-CV-1189-GPC-LL
      on behalf of all others similarly situated,
12
                                         Plaintiff,       ORDER RESETTING VIDEO
13                                                        MANDATORY SETTLEMENT
      v.                                                  CONFERENCE
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      CONAM MANAGEMENT
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      CORPORATION, et al.,
16                                     Defendants.
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18         On July 7, 2020, this Court issued a Notice and Order for Video Mandatory
19   Settlement Conference and set a Mandatory Settlement Conference (“MSC”) for
20   Wednesday, August 12, 2020 at 10:00 a.m. (Doc. No. 78.) Due to changes in the Court’s
21   calendar, and after conferring with counsel for the Parties, the Court hereby RESETS the
22   MSC to Thursday, August 27, 2020 at 9:00 a.m. All other dates as set forth in the Court’s
23   July 7, 2020 Order still stand.
24   Dated: July 17, 2020
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